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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION

   Latasha Holloway, et al.,

   Plaintiffs,

   v.                                                Case No. 2:18-cv-0069

   City of Virginia Beach, et al.,

   Defendants.


                                     STIPULATION OF DISMISSAL

          Plaintiffs, with the stipulation of the Defendants, pursuant to Rule 41(a)(1)(A)(ii) of the

  Federal Rules of Civil Procedure, hereby dismiss this action, with each party to bear its own costs.

                                                       Respectfully submitted,

                                                       /s/ Mark Gaber
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on November 27, 2023, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system, which will then send a notification of the filing to

  all parties of record.

                                                       /s/ Gerald L. Harris



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